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                                                   Wednesday, 04 April, 2018 04:44:48 PM
                                                           Clerk, U.S. District Court, ILCD

                  UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,

     Plaintiff,
                                                No. 17-30074
           v.

WEST KINIOKI MPETSHI,

     Defendant.

     MOTION FOR MODIFICATION OF BOND CONDITIONS

     Defendant WEST KINIOKI MPETSHI, through his attorney,

Assistant Federal Public Defender Johanes Maliza, hereby moves

the Court for the entry of an Order modifying the bond conditions

imposed upon him on January 17, 2018. Order Setting Conditions

of Release, Dkt. 8. Specifically, he requests that the Court modify

Conditions (7)(d) and 7(e), which require him to surrender his

passport and not obtain another. In support, he states as follows:

     1.    Mr. Kinioki Mpetshi was arraigned on January 17, 2018,

on a four count indictment, all for aiding and assisting in the

preparation and presentation of false tax returns.

     2.    Mr. Kinioki Mpetshi was released on Bond, and in the

Order Setting Conditions of Release, Conditions (7)(d-e) required
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him to surrender his passport to the United States Probation Office,

and not acquire another passport.

     3.   Mr. Kinioki Mpetshi is in the United States with a

permanent residency card, and as part of his residency and

interaction with the United States immigration authorities, he is

required to present his passport from time to time.

     4.   He has a meeting with United States Citizenship and

Immigration Services on April 18, 2018. At that meeting, he will

need to have his passport to show the USCIS officials.

     5.   Mr. Kinioki Mpetshi requests his passport for the limited

purpose of having it from April 18, 2018, until April 20, 2018.

When he has completed his meeting, he will return his passport to

the U.S. Probation Office as soon as possible.

     6.   AUSA Greg Harris does not oppose this motion.

     WHEREFORE, Defendant respectfully requests the entry of an

Order modifying Conditions (7)(d) and 7(e), permitting him to collect

his passport for the limited purpose of presenting it to United States

Immigration authorities, and then returning it to Probation once his

April 18, 2018 meeting is finished.

                            Respectfully submitted,
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April 4, 2018               WEST KINIOKI MPETSHI,
                            Defendant,

                            THOMAS PATTON, Federal Public
                            Defender

                            By: s/ Johanes Maliza
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                     CERTIFICATE OF SERVICE

     I hereby certify that on April 4, 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system.

Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt.

Parties may access this filing through the Court’s system.



                                  s/ Johanes C. Maliza
